                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                             SOUTHWESTERN DIVISION

JILL KIDWELL,                                 )
                                              )
                      Plaintiff,              )
                                              )       Case No. 3:19-cv-5101
v.                                            )
                                              )       Removal from the Associate Circuit Court
WAL-MART REAL ESTATE                          )       of Jasper County, Missouri
BUSINESS TRUST                                )       Case No. 19AO-AC02716
                                              )
                      Defendant.              )
                                              )

                                    NOTICE OF REMOVAL

       TO:     THE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE

WESTERN DISTRICT OF MISSOURI

       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Wal-Mart, Inc. (improperly

identified in the caption as Wal-Mart Real Estate Business Trust and hereinafter referred to as

Defendant or “Walmart”) hereby removes to the United States District Court for the Western

District of Missouri the action styled Jill Kidwell v. Wal-Mart Real Estate Business Trust, Case

No. 19AO-AC02716, from the Associate Circuit Court of Jasper County, Missouri. Defendant

states the following in support of removal:

                                    STATE COURT ACTION

       1.      On November 7, 2019, Plaintiff Jill Kidwell (“Plaintiff”) commenced this matter

by filing her Petition for Damages in the case styled Jill Kidwell v. Wal-Mart Real Estate Business

Trust, Case No. 19AO-AC02716, from the Associate Circuit Court of Jasper County, Missouri

(the “State Court Action”).

       2.      Plaintiff’s Petition in the State Court Action asserts a claim of premises liability.




                                        1
            Case 3:19-cv-05101-SRB Document 1 Filed 12/13/19 Page 1 of 6
        3.      Removal is timely if it is filed within thirty (30) days after a defendant receives a

copy of an initial pleading “through service or otherwise”. 28 U.S.C. §§ 1441 and 1446.

        4.      Defendant was served with process on November 13, 2019.

        5.      This is a civil action over which this Court has original diversity of citizenship

jurisdiction under 28 U.S.C. § 1332. As such, Defendant may remove this action under 28 U.S.C.

§§ 1441 and 1446.

                              PAPERS FROM REMOVED ACTION

        6.      A true and correct copy of the court file from the State Court Action is attached

hereto as Exhibit A.

                                      REMOVAL IS TIMELY

        7.      A Notice of Removal is required to be filed within thirty (30) days that the

defendant receives a copy of an initial pleading “through service or otherwise”. 28 U.S.C. §

1446(b).

        8.      Defendant was served with process on November 13, 2019.

        9.      This Notice of Removal is being filed on or before December 13, 2019.

                                VENUE REQUIREMENT IS MET

        10.     Venue is proper, in that this Court is the United States District Court for the district

and division corresponding to the place where the State Court Action was pending. 28 U.S.C. §

1441(a).

                              DIVERSITY JURISDICTION EXISTS

        11.     Plaintiff identifies her residence in the State Court File as Missouri. See Exhibit A,

Petition ¶ 1.




                                         2
             Case 3:19-cv-05101-SRB Document 1 Filed 12/13/19 Page 2 of 6
       12.      While the caption of Plaintiff’s Petition incorrectly identifies the Defendant as Wal-

Mart Real Estate Business Trust, the jurisdictional and factual averments within the body of

Plaintiff’s Petition identify the Defendant as Wal-Mart, Inc.

       13.      Defendant Wal-Mart, Inc., for purposes of establishing that complete diversity of

citizenship exists for this controversy, provides the following information:

             a) Walmart, Inc. is a corporation organized and existing under the laws of the State of

                Delaware and maintains its principal office and place of business in the State of

                Arkansas, not having its chief and principal place of business in the State of

                Missouri, and is neither a citizen nor a resident of the State of Missouri.

       14.      Accordingly, there exists complete diversity of citizenship in this matter. See 28

U.S.C. § 1332(c).

                       AMOUNT IN CONTROVERSY EXCEEDS $75,000

       15.      A district court has original diversity jurisdiction when “the matter in controversy

exceeds the sum or value of $75,000, exclusive of interest and costs . . . .” 28 U.S.C. § 1332(a). A

district court has subject matter jurisdiction in a diversity case when “a fact finder could legally

conclude, from the pleadings and proof adduced to the court before trial, that the damages that the

plaintiff suffered are greater than $75,000.00.” Kopp v. Kopp, 280 F.3d 883, 885 (8th Cir. 2002).

Accordingly, even in matters where it is not “facially apparent” from a plaintiff’s pleadings that

the claimed damages exceed $75,000, removal can be warranted. Quinn v. Kimble, 228 F.Supp.2d

1038, 1040 (E.D.Mo. 2002)(finding remand was not warranted even where plaintiff submitted

affidavits alleging damages totaling less than $10,000.00).

       16.      In her Petition, Plaintiff alleges personal injury due to the alleged “negligence,

carelessness, faults and omissions” of Defendant that “directly and proximately or contributed to




                                      3
          Case 3:19-cv-05101-SRB Document 1 Filed 12/13/19 Page 3 of 6
cause Plaintiff Jill Kidwell to sustain bodily injury to her head, right shoulder, left knee and back.”

See Exhibit A, Petition ¶ 15.

       17.     She further alleges damages, including “a substantial sum for medical and health

care and treatment” and that she continues to have pain, suffering, and inconvenience as a result

of her injuries.” See Exhibit A, Petition ¶ 15.

       18.     Plaintiff also requests judgment in an amount “not to exceed the sum of $74,999.00,

exclusive of interest or cost, for her costs incurred herein, and for such other amounts as the

court deems just and proper under the circumstances.” See Exhibit A, Petition, Wherefore

clause (emphasis added).

       19.     Although this prayer appears to limit her damages, Plaintiff is explicitly claiming

substantial medical expenses, chronic pain, suffering and inconvenience as a result of her injuries.

       20.     Based on Plaintiff’s claims of substantial medical expenses, chronic pain, suffering

and inconvenience as a result of her injuries, as well as a claim “for such other amounts as the

court deems just and proper”, a fact finder could legally conclude from Plaintiff’s Petition that the

amount in controversy in this matter is in excess of $75,000.

                                      REMOVAL IS PROPER

       21.     Removal is proper, in that (i) this action is a civil action pending within the

jurisdiction of the Associate Circuit Court of Jasper County, Missouri; (ii) this action could have

been brought in this jurisdiction; and (iii) the parties are completely diverse. 28 U.S.C. §§ 1441

and 1446.

       22.     The U.S. District Court for the Western District of Missouri, Southwestern

Division, is the appropriate court for removing this action. See 28 U.S.C. §§ 1441(a) and 1446(a);

Local Rule 3.2(a)(3).




                                        4
            Case 3:19-cv-05101-SRB Document 1 Filed 12/13/19 Page 4 of 6
                                FILING OF REMOVAL PAPERS

       23.     Promptly upon filing this Notice of Removal, Defendant will give notice in writing

to all parties and will file a copy of this Notice of Removal with the Clerk of the Associate Circuit

Court of Jasper County, Missouri, as required by 28 U.S.C. § 1446(d).

                                   JURY TRIAL DEMANDED

       24.     Defendant requests jury trial on all matters.

                             DESIGNATION OF PLACE OF TRIAL

       25.     Defendant hereby designates Joplin, Missouri as the place for trial.

                                          CONCLUSION

       WHEREFORE, Defendant Wal-Mart, Inc. (improperly identified in the caption as Wal-

Mart Real Estate Business Trust) does hereby remove the above-captioned action from the

Associate Circuit Court of Jasper County, State of Missouri, and request that further proceedings

be conducted in this Court as provided by law.

       DATED: December 13, 2019.




                                      5
          Case 3:19-cv-05101-SRB Document 1 Filed 12/13/19 Page 5 of 6
                                          Respectfully submitted:



                                          /s/ M. Jared Marsh
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                                          ATTORNEYS FOR DEFENDANT




                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 13th day of December 2019, the foregoing
was electronically mailed to:

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ATTORNEYS FOR PLAINTIFF

                                          /s/ M. Jared Marsh
                                          ATTORNEY FOR DEFENDANT




                                     6
         Case 3:19-cv-05101-SRB Document 1 Filed 12/13/19 Page 6 of 6
